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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                            §
                                                   §
                  Plaintiffs,                      §
                                                   §
           v.                                      § Case No. 1:18-CV-68
                                                   §
UNITED STATES OF AMERICA, et al.,                  §
                                                   §
                  Defendants,                      §
                                                   §
and                                                §
                                                   §
KARLA PEREZ, et al.,                               §
                                                   §
                  Defendant-Intervenors,           §
                                                   §
and                                                §
                                                   §
STATE OF NEW JERSEY,                               §
                                                   §
                  Defendant-Intervenor.            §


                      PEREZ DEFENDANT-INTERVENORS’ MOTION
                 FOR LEAVE TO FILE SUPPLEMENTAL BRIEFING AND TO
                    CONTINUE HEARING SET FOR OCTOBER 28, 2019


      I.        STATEMENT OF THE ISSUES TO BE RULED UPON BY THE COURT

           Defendant-Intervenors Karla Perez, et al. (“Defendant-Intervenors”) submit this motion

and respectfully request that the Court permit the parties to file supplemental briefing on Plaintiffs’

Motion for Summary Judgment in order to provide the Court with additional evidence developed

in discovery. See Dkt. 356. Defendant-Intervenors also request that the Court continue the hearing

on summary judgment (currently set for October 28, 2019) until after the supplemental briefing.

See Dkt. 412.
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   II.      SUMMARY OF THE ARGUMENT

         The Court’s scheduling orders provided that discovery in the case would end on September

23, 2019. See Dkt. Entry dated 11/14/2018 and Dkt. 367. On February 4, 2019, Plaintiffs State

of Texas, et al., filed a premature motion for summary judgment. See Dkt. 356. The Court denied

Defendant-Intervenors’ motion to Deny or Defer Consideration of Summary Judgment and set the

hearing on Plaintiffs’ motion for summary judgment for October 28, 2019. See Dkt. 412. The

parties continued to engage in discovery following the close of briefing on the summary judgment

motion and through September 23, 2019. See Dkt. 413. This discovery included disclosure of six

expert reports by Defendant Intervenors on July 19, 2019, as well as depositions, requests for

production, requests for admissions and interrogatories.

         As of October 1, 2019, several responses to Defendant-Intervenors’ discovery requests

remain outstanding. The Court granted leave for Federal Defendants to provide some discovery

responses on October 14, 2019. See Dkt. 421. In addition, Defendant-Intervenors await responses

to subpoenas duces tecum served in connection with their depositions of Plaintiffs’ witnesses in

Alabama and Arkansas. See Dkt. 429. The Court also has two motions pending before it that are

set for argument on October 8, 2019: (1) Defendant-Intervenor New Jersey’s Motion to Stay; and

(2) Defendant-Intervenors’ Motion to Compel Discovery from Plaintiffs. Dkt. 427 & Dkt. 429.

         Given the current posture of the case, Defendant-Intervenors request that the Court permit

additional briefing and continue the October 28, 2019 hearing on summary judgment (1) to allow

for responses to the discovery requests; (2) to allow the Court to rule on pending motions; and (3)

to allow supplemental briefing to provide the Court with evidence developed by the parties

following Plaintiffs’ filing of their summary judgment motion.




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   III.      ARGUMENT

          A. Fed. R. Civ. P. 56(d) Allows this Court to Extend Briefing and Continue the
             Hearing set for October 28, 2019 Because Discovery Responses Remain Pending,
             New Discovery was Produced, and There are Pending Motions Before the Court.

          Following Plaintiffs’ filing of their motion for summary judgment in early February, 2019,

the parties continued to take discovery for seven more months. The evidence developed in that

discovery has not yet been incorporated into the record or the parties’ briefing. “Although [Fed.

R. Civ. P. 56] allows a motion for summary judgment to be filed at the commencement of an

action, in many cases the motion will be premature until the nonmovant has had time to file a

responsive pleading or other pretrial proceedings have been had.” Fed. R. Civ. P. 56(b) Advisory

Committee’s Note to 2010 Amendment; see also Access Telecom, Inc. v. MCI Telecomm. Corp.,

197 F.3d 694, 720 (5th Cir.1999) (“[w]hen a party is not given a full and fair opportunity to

discover information essential to its opposition to summary judgment, the limitation on discovery

is reversible error.”). At this point in time, discovery responses are pending, new evidence was

produced in discovery, and there are pending discovery-related motions before the Court.

Consequently, Defendant-Intervenors respectfully request this Court to permit supplemental

briefing and continue the hearing set for October 28, 2019.

          Rule 56(d) states:

          (d) If a nonmovant shows by affidavit or declaration that, for specified reasons, it cannot
          present facts essential to justify its opposition, the court may:

                 (1) defer considering the motion or deny it;
                 (2) allow time to obtain affidavits or declarations or to take discovery; or
                 (3) issue any other appropriate order.

Fed. R. Civ. P. 56(d). A “continuance of a motion for summary judgment for purposes of discovery

should be granted almost as a matter of course [unless] the non-moving party has not diligently




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pursued discovery of the evidence.” Int’l Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257, 1267 (5th

Cir.1991).

        Although here Defendant-Intervenors request an opportunity to submit additional briefing

and postponement of the argument, as opposed to a new discovery period, Defendant-Intervenors

meet the four requirements to receive a continuance under Rule 56(d).                    First, Defendant-

Intervenors make their request “before the court rules on summary judgment.” Tonnas v.

Stonebridge Life Ins. Co., 78 Fed.Appx. 966, 968 (5th Cir. 2003) (per curiam) (internal citations

omitted).1 Second, Defendant-Intervenors “put the court on notice” that discovery is not yet

complete by filing their motion to compel (Dkt. 429) and informing the court that Defendant-

Intervenors have neither received the discovery from Federal Defendants expected on October 14,

2019 nor been able to incorporate any of the evidence developed after February 2019 into their

summary judgment briefing. Id. Third, Defendant-Intervenors have taken discovery through the

full discovery period and thus “acted in a diligent fashion so as not to have put [themselves] in the

current position through inaction.” Id. Defendant-Intervenors propounded four sets of discovery

requests on Federal Defendants and six sets of discovery requests on Plaintiffs, and Defendant-

Intervenors conducted eight depositions of Plaintiffs’ witnesses. Defendant Intervenors disclosed

six expert reports. This discovery also includes interrogatories propounded on Federal Defendants

for which the Court provided a deadline of October 14, 2019. See Dkt. 412.

        Fourth, Defendant-Intervenors here “show how the [] discovery relates to the summary

judgment motion.” Id. Defendant-Intervenors’ discovery requests propounded on Plaintiffs relate

to the issue of standing and the impact of DACA on states. Plaintiffs argue in their motion for



1
  This opinion cites Federal Rules of Civil Procedure Rule 56(f), the predecessor of Rule 56(d). The Advisory
Committee Notes on Rules – 2010 Amendment states, “Subdivision (d) carries forward without substantial change
the provisions of former subdivision (f).”

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summary judgment that they are injured by DACA through increased healthcare, education, and

law enforcement costs. Dkt. 357 at 27. Defendant Intervenors’ subpoenas duces tecum, served

on Plaintiffs’ witnesses in Alabama and Arkansas prior to their depositions, similarly request

information related to Plaintiffs’ claims that DACA forces them to incur costs. Finally, several

of Defendant Intervenors’ expert reports, disclosed in July 2019 after the close of summary

judgment briefing, address Plaintiffs’ standing and the impact of DACA on states.

       Defendant-Intervenors’ discovery requests propounded on Federal Defendants relate to

how DACA is implemented, including the use of discretion in DACA adjudication, and also relate

to whether and what types of benefits flow from a grant of DACA. For example, Plaintiffs argue

that DACA allows its recipients to adjust their immigration status to that of lawful permanent

residents. Dkt. 357 at 39. The pending discovery response from Federal Defendants, expected on

October 14, 2019, relates to this question. See Dkt. 412.

       B. Supplemental Briefing is Necessary to Provide the Court With a Record

       In addition to pending discovery responses and expert reports that are not yet included in

the parties’ briefing, the parties took depositions in September in Austin, New York, Alabama and

Arkansas for which the transcripts are not yet complete because the witnesses have not yet finished

the read-and-sign process. The testimony in these depositions is relevant to the claims of injury

by Plaintiffs as well as the impact of DACA on its recipients and the states in which they live.

Allowing the parties to supplement their summary judgment briefing to include the evidence

developed in discovery would provide the Court with a more developed record than the one

discussed in the summary judgement briefing that closed in May 2019. See e.g. Pennell v. City of

San Jose, 485 U.S. 1, 8 (1988) (“We strongly suggest that parties litigating in the Court take pains




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to supplement the record in any manner necessary to enable us to address with as much precision

as possible any question of standing that may be raised.”).

         Moreover, the Court also has pending before it motions related to discovery. Defendant-

Intervenors moved to strike the testimony of Plaintiffs’ two expert witnesses—this motion is

pending in this Court’s docket. See Dkt. 390. In addition, the Court has before it a motion to

compel filed by Defendant-Intervenors to obtain discovery not yet provided by Plaintiffs. Dkt.

429.

         The Court also has before it a motion by Defendant-Intervenor New Jersey to stay the case

pending the decision of the U.S. Supreme Court in Dep’t of Homeland Sec. v. Regents of the

University of California and its two related cases which are scheduled for oral argument on

November 12, 2019. Dkt. 427.

   IV.      CONCLUSION

         For the reasons set out above, Defendant-Intervenors respectfully request that the Court

order the parties to confer and propose a supplemental briefing schedule after the close of

discovery and resolution of any related discovery disputes. Defendant Intervenors further request

that the Court continue the hearing set for October 28, 2019.

Dated: October 1, 2019                               Respectfully Submitted,

                                                     MEXICAN AMERICAN LEGAL
                                                     DEFENSE AND EDUCATIONAL FUND
                                                     By: /s/ Nina Perales
                                                     Nina Perales (Tex. Bar No. 24005046);
                                                     (SD of Tex. Bar No. 21127)
                                                     Attorney-in-Charge
                                                     Ernest I. Herrera (Tex. Bar No. 24094718);
                                                     (SD of Tex. Bar No. 2462211)
                                                     Ramón A. Soto (N.M. Bar 149600)*
                                                     110 Broadway, Suite 300
                                                     San Antonio, Texas 78205
                                                     Phone: (210) 224-5476

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                                                    Email: nperales@maldef.org
                                                    *(Admitted pro hac vice)

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                                                    Mexican American Legal Defense and
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                                                    (202) 508-4776 (direct dial)
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                                                    Driemeier@ropesgray.com
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                                                    P.O. Box 4545
                                                    McAllen, TX 78502
                                                    Phone: (956) 630-3889
                                                    Facsimile: (956) 630-3899
                                                    Email: cgarcia@garciagarcialaw.com

                                                    Attorneys for Defendant-Intervenors

                            CERTIFICATE OF CONFERENCE

       I certify that on September 26, 2019, I emailed Todd Disher, counsel for Plaintiffs,

Jeffrey Robins, counsel for Federal Defendants, and Glenn Moramarco, counsel for Defendant-

Intervenor New Jersey to confer on the motion. On September 27, 2019, counsel for Plaintiffs

indicated that they oppose the motion. Counsel for Federal Defendants acknowledged receipt of



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the email but did not provide a position on the motion. On September 27, 2019, counsel for

Defendant-Intervenor New Jersey indicated they do not oppose the motion.

                                                              /s/ Nina Perales_________
                                                              Nina Perales


                                 CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that, on the 1st day of October, 2019, I electronically

filed the above and foregoing document using the CM/ECF system, which automatically sends

notice and a copy of the filing to all counsel of record.


                                                              /s/ Nina Perales_________
                                                              Nina Perales




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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                          §
                                                 §
                Plaintiffs,                      §
                                                 §
        v.                                       § Case No. 1:18-CV-68
                                                 §
UNITED STATES OF AMERICA, et al.,                §
                                                 §
                Defendants,                      §
                                                 §
and                                              §
                                                 §
KARLA PEREZ, et al.,                             §
                                                 §
                Defendant-Intervenors,           §
                                                 §
and                                              §
                                                 §
STATE OF NEW JERSEY,                             §
                                                 §
                Defendant-Intervenor.            §


  DECLARATION OF NINA PERALES IN SUPPORT OF PEREZ DEFENDANT-
INTERVENORS’ MOTION FOR LEAVE TO FILE SUPPLEMENTAL BRIEFING AND
          TO CONTINUE HEARING SET FOR OCTOBER 28, 2019


I, Nina Perales, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

        1.      I am the Vice President of Litigation of the Mexican American Legal Defense and

Educational Fund.      I submit this declaration in support of the Motion for Leave to File

Supplemental Briefing and to Continue Hearing Set for October 28, 2019 by Defendant-

Intervenors Karla Perez et al. (the “Defendant-Intervenors”) in the above-referenced case. I am

thoroughly familiar with the facts and arguments in this proceeding. I have personal knowledge

of the statements contained in this declaration and am fully competent to testify to the matters set

forth herein.
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       2.      On February 14, 2019, Defendant-Intervenors responded to Plaintiffs’ motion for

summary judgment. Dkt. 363 (Rule 56(d) Motion to Deny Plaintiffs’ Motion for Summary

Judgment). After filing their Rule 56(d) Motion, Defendant-Intervenors conducted the following

discovery with the other parties in the case:

           On February 20, 2019, Defendant-intervenors received Federal Defendants’

            supplemental responses to Defendant-Intervenors’ third set of discovery requests;

           On March 4, 2019, Defendant-Intervenors received Plaintiffs’ objections and responses

            to Defendant-Intervenors’ fifth set of discovery requests;

           On March 19, 2019, Defendant-Intervenors received Plaintiffs’ expert witness

            designations;

           On June 20, 2019, Defendant-Intervenors served their Fourth Set of Discovery

            Requests on Federal Defendants;

           On July 19, 2019, Defendant-Intervenors disclosed the supplemental expert reports of

            Dr. Douglas Massey and Dr. M. Ray Perryman;

           On July 19, 2019, Defendant-Intervenors also disclosed the expert reports of Ike

            Brannon; Dr. Robert Smith; Shoba Sivaprasad Wadhia; Ursula Parks; Meg Wiehe and

            Misha Hill;

           On July 22, 2019, Defendant-Intervenors received Federal Defendants’ objections and

            responses to Defendant-Intervenors’ fourth set of discovery requests;

           On August 7, 2019, Defendant-Intervenors received Plaintiffs’ responses to Defendant-

            Intervenors’ fifth set of discovery requests and Plaintiffs’ second amended responses

            to Defendant-Intervenors’ second set of discovery requests which included the

            declarations of Plaintiffs’ newly-named witnesses: Deena Pregno, Gretel Felton,


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       Robert Brantley, Mary Franklin, Robert Gregory Rogers, Dale M. Dennis, Nicole

       Hamm, Michael Boutte, Alexander Billioux, Kevin W. Reeves, Jacob Black, Marshall

       Fisher, Drew Snyder, John Bolduc, Brian Halstead, Matthew Van Patton, Molly M.

       Spearman, Lawrence B. Livingston, Rusty Monhollon, Adam L. Whitsett, Leonardo R.

       Lopez, Monica Smoot, Skylor Hearn, Steven L. Paine, Cynthia Beane, Jeffrey S.

       Sandy, and William J. Bryant;

      On September 3, 2019, Federal Defendants supplemented their responses to Defendant-

       Intervenors’ fourth set of discovery requests;

      On September 4, 2019, Defendant-Intervenors defended the deposition of their expert

       witness, Dr. Robert Smith;

      On September 11, 2019, Defendant-Intervenors defended the deposition of their expert

       witness, Ursula Parks;

      On September 12, 2019, Defendant-Intervenors took the deposition of Plaintiffs’

       witness, Gretel Felton;

      On September 13, 2019, Defendant-Intervenors received Federal Defendants’

       responses to Defendant-Intervenors’ Requests for Admission.

      On September 18, 2019, Defendant-Intervenors took the deposition of Plaintiffs’

       witness, Mary Franklin;

      On September 19, 2019, Defendant-Intervenors objected and responded to Plaintiffs’

       first set of interrogatories; and

      On September 23, 2019, Defendant-Intervenors received Plaintiffs’ responses to

       Defendant Intervenors’ Sixth Set of Discovery Requests on Plaintiffs.

  3.       As of October 1, 2019, several responses to Defendant-Intervenors’ discovery


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requests remain outstanding. The Court granted leave for Federal Defendants to provide certain

discovery responses on October 14, 2019. See Dkt. 421. In addition, Defendant-Intervenors await

responses to subpoenas duces tecum served in connection with their depositions of Plaintiffs’

witnesses in Alabama and Arkansas. See Dkt. 429. The Court also has a discovery motion pending

before it that is set for argument on October 8, 2019 -- Defendant-Intervenors’ Motion to Compel

Discovery from Plaintiffs. Dkt. 429.

       4.      Following Plaintiffs’ filing of their motion for summary judgment in early

February, 2019, the parties continued to take discovery for seven more months. The evidence

developed in that discovery has not yet been incorporated into the record or the parties’ briefing.

At this time, discovery responses are pending, new evidence was produced in discovery, and there

is a pending motion to compel discovery before the Court.

       5.      Defendant-Intervenors’ discovery requests propounded on Plaintiffs relate to the

issue of standing as well as the impact of DACA on Plaintiff states. Plaintiffs argue in their motion

for summary judgment that they are injured by DACA through increased healthcare, education,

and law enforcement costs. Dkt. 357 at 27. Defendant Intervenors’ subpoenas duces tecum, served

on Plaintiffs’ witnesses in Alabama and Arkansas prior to their depositions, similarly request

information related to Plaintiffs’ claims that DACA forces them to incur costs. Finally, several

of Defendant Intervenors’ expert reports, disclosed in July 2019 after the close of summary

judgment briefing, address Plaintiffs’ standing and the impact of DACA on Plaintiff states.

       6.      Defendant-Intervenors’ discovery requests propounded on Federal Defendants

relate to how DACA is implemented, including the use of discretion in DACA adjudication, and

also relate to whether and what types of benefits flow from a grant of DACA. For example,

Plaintiffs argue that DACA allows its recipients to adjust their immigration status to that of lawful



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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                  BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,                        §
                                               §
                 Plaintiffs,                   §
                                               §
        v.                                     § Case No. 1:18-CV-68
                                               §
UNITED STATES OF AMERICA, et al.,              §
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                 Defendants,                   §
                                               §
and                                            §
                                               §
KARLA PEREZ, et al.,                           §
                                               §
                 Defendant-Intervenors,        §
and                                            §
                                               §
STATE OF NEW JERSEY                            §
                                               §
                 Defendant-Intervenor.




                                         [PROPOSED] ORDER

             Before the Court is Perez Defendant-Intervenors’ Motion for Leave to File

  Supplemental Briefing and to Continue Hearing Set for October 28, 2019. Having considered

  the Motion, the papers submitted in support and opposition thereto and the arguments of

  counsel, if any, the Court finds good cause to vacate the October 28, 2019 hearing date and

  accept additional briefing on Plaintiffs’ Motion for Summary Judgment.        Accordingly,

  Defendant-Intervenors’ Motion is GRANTED.

        IT IS THEREFORE ORDERED that the hearing set for October 28, 2019 is VACATED.
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       IT IS FURTHER ORDERED that the parties confer after all discovery is concluded and

propose a supplemental briefing schedule to the Court.

       SIGNED on this the ____ day of October, 2019.


                                                   Hon. Andrew S. Hanen,
                                                   U.S. District Court Judge
